      Case 1:15-cr-00063-DHB-BKE Document 48 Filed 07/31/15 Page 1 of 1
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                          {JNITED STATES DISTRICT COTJRT
                          SOUTHERN DISTRICT OF GEORGIA
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                          AUGUSTA AND DUBLIN DIVISIONS
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                                                    CaseNo.: 1:l4-cr-069,Williamson
                                                             1:15-cr-063,
                                                                        Cunningham, et al.
 LEAVE OF ABSENCEREQUEST
                                                               3:l3-cr-006,Buroughs
 NANCY C. GREENWOOD                                                       McDonald,et al.
                                                               3:15-cr-006,
 August24,2015
 Septemberl4 through16,2015
 September30 throughOctober1,2015
 November24 through25, 2015
 December4, 20 [ 5


                                          ORDER

      Upon considerationofthe Motion for LeaveofAbsencefiled by the United Statesof America

in the above-citedcaseon behalfof AssistantUnitedStatesAttomey NancyC. Greenwoodfor August

                                            30 throughOctober1, 2015,November24
                 14 through16, 2015,September
24,2015, September

through25, 2015, and December4,2015, to attenda hearingand for vacationoutsideofthe district,

the sameis hergby.QRANTED.

       rhtl*nr



                                        DUDLEY H. BO
                                                                    COURTJUDCE
                                        SOUTHERNDJSTRICTOF CEORGIA
